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                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

    UNITED STATES OF AMERICA                                                PLAINTIFF

               v.           Cr. No. 2:05CR20044-001,002


    JUANITA "SUE" SALYERS
    WHITE DAIRY ICE CREAM                                                   DEFENDANT

                                         O R D E R

          Before the Court is the Motion for Continuance (pleading #11)

    filed by separate defendant, Juanita Salyers on August 16, 2005.

          IT APPEARING to the Court that the motion should be granted,

    it is ORDERED that the motion be, and it is hereby, granted, and

    the case is reset for trial on OCTOBER 24, 2005 AT 9:00AM.

          The Court grants this continuance based on its findings that

    the ends of justice served by taking such action outweigh the best

    interest of the public and the defendant in a speedy trial,

    because otherwise the defendant's counsel would be denied the

    reasonable time necessary for effective preparation, taking into

    account    the    exercise      of   due    diligence.      See    18   U.S.C.     §

    3161(h)(8)(B)(iv).        The time between the trial date of September
    26, 2005, and the reset trial date of October 24, 2005, is

    excludable       for   speedy    trial      purposes.       See   18    U.S.C.     §

    3161(h)(8)(A).

          ORDERED this 16th day of August, 2005.

                                                /s/ Robert T. Dawson
                                               ROBERT T. DAWSON
                                               UNITED STATES DISTRICT JUDGE
